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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


COMMONWEALTH OF
MASSACHUSETTS, et al.

                                    Plaintiffs,
                                                                           No. 1:25-cv-10814-BEM
         v.

ROBERT F. KENNEDY, JR., et al.,

                                    Defendants.


           PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

         Pursuant to Federal Rule of Civil Procedure 65 and Local Rule 7.1, plaintiffs

Massachusetts, California, Maryland, Washington, Arizona, Delaware, Hawaiʻi, Nevada, New

Jersey, New York, Oregon, Rhode Island, and Wisconsin respectfully move for a temporary

restraining order requiring defendants 1 to immediately rescind the unlawful terminations of

awarded National Institutes of Health (NIH) grants and enjoining defendants from unlawfully

terminating any additional awarded NIH grants.

         Defendants have purported to terminate a swath of already-awarded NIH grants on the

sole ground that the grants allegedly “no longer effectuate agency priorities.” Researchers with

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  Defendants are Robert F. Kennedy, Jr., in his official capacity as Secretary of Health and Human Services, the
United States Department of Health and Human Services, Jayanta Bhattacharya, in his official capacity as Director
of the National Institutes of Health, the National Institutes of Health, the National Cancer Institute, the National Eye
Institute, the National Heart, Lung, and Blood Institute, the National Human Genome Research Institute, the
National Institute on Aging, the National Institute on Alcohol Abuse and Alcoholism, the National Institute of
Allergy and Infectious Diseases, the National Institute of Arthritis and Musculoskeletal and Skin Diseases, the
National Institute of Biomedical Imaging and Bioengineering, the Eunice Kennedy Shriver National Institute of
Child Health and Human Development, the National Institute on Deafness and Other Communication Disorders, the
National Institute of Dental and Craniofacial Research, the National Institute of Diabetes and Digestive and Kidney
Diseases, the National Institute on Drug Abuse, the National Institute of Environmental Health Sciences, the
National Institute of General Medical Sciences, the National Institute of Mental Health, the National Institute on
Minority Health and Health Disparities, the National Institute of Neurological Disorders and Stroke, the National
Institute of Nursing Research, the National Library of Medicine, the National Center for Advancing Translational
Sciences, the John E. Fogarty International Center for Advanced Study in the Health Sciences, the National Center
for Complementary and Integrative Health, and the Center for Scientific Review.
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awarded grants suddenly have had their funding source unceremoniously terminated on the basis

that their projects are “antithetical to science.” This about-face has upended important research

projects, not to mention lives. Plaintiffs accordingly are forced to bring this motion, which seeks

immediate relief from defendants’ unlawful grant terminations.

       Plaintiffs satisfy the requirements for temporary emergency relief. First, plaintiffs are

likely to succeed on the merits of their claims because defendants’ termination of NIH grants is

unlawful in multiple respects. The grant terminations are arbitrary and capricious, as well as

contrary to law, both as to the regulations specifically governing NIH grant awards and as to the

statutory scheme governing NIH research programs and appropriations, all in violation of the

Administrative Procedure Act. The terminations also violate constitutional separation-of-powers

principles because the Executive branch may not unilaterally decline to spend funds that

Congress has appropriated for NIH research.

       Second, plaintiffs will suffer immediate and irreparable harm if these terminations stand.

Funding that colleges and universities counted on—because NIH committed to provide that

funding—will evaporate. As a result, some of plaintiffs’ public institutions are being forced to

stop research activities, reduce personnel, and even shut down programs, including active

clinical trials. Moreover, these abrupt terminations have caused operational chaos and confusion

to these institutions, upending months, if not years, of planning and plunging them into

budgetary and programmatic uncertainty.

       Third, the balance of equities and the public interest weigh in favor of a temporary

restraining order. Plaintiffs have a substantial interest in the successful operation of their research

programs and higher education institutions, and the only harm of temporarily enjoining




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defendants is that they will have to comply with the terms of grant awards they themselves

awarded to plaintiffs.

       Plaintiffs further request that the Court exercise its discretion to waive the requirement to

post a bond under Rule 65(c). See, e.g., Int’l Assoc. of Machinists and Aerospace Workers v.

Eastern Airlines, 925 F.2d 6, 9 (1st Cir. 1991) (finding “ample authority for the proposition that

the provisions of Rule 65(c) are not mandatory and that a district court retains substantial

discretion to dictate the terms of an injunction bond.”); see also da Silva Medeiros v. Martin, 458

F. Supp. 3d 122, 130 (D.R.I. 2020) (district court waived the bond requirement where it would

pose a hardship on petitioners, and unduly restrict the federal rights at issue); Pineda v. Skinner

Services, Inc., 22 F.4th 47, 57 (1st Cir. 2021) (district court did not abuse its discretion when it

did not require low-wage laborers to post a bond).

       As further grounds in support of their request for a temporary restraining order, plaintiffs

rely on the accompanying memorandum of law, declarations, and evidence filed in support of

this motion.

       Wherefore, plaintiffs respectfully request that the Court immediately enter a temporary

restraining order in the form set forth in the proposed order attached to this motion.




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April 4, 2025                                   Respectfully submitted.

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                                CERTIFICATE OF SERVICE

        I, Gerard J. Cedrone, certify that on April 4, 2025, I provided a copy of the foregoing
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